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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division
UNITED STATES OF AMERICA,
Plaintiff,

Vv. Civil Action No. 1:20-cv-01343 (RDA/AIDD)

BANK ACCOUNT #153568031006 IN
THE NAME OF CARLETON P. NELSON
AND AMY S. NELSON AT U.S.

BANK, ef ai.,

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$4,543.79 IN FUNDS SEIZED FROM )
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Defendants. )

STIPULATED CONSENT JUDGMENT AND ORDER

This matter comes before the Court on the Parties’ Joint Motion for Settlement and
Stipulated Consent Judgment (Dkt. 61).

WHEREAS on November 9, 2020, the United States filed a civil Complaint for Forfeiture
In Rem seeking the forfeiture of the property listed in the case caption above (“subject property”)
pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 981(a})(1)(C);

AND WHEREAS, notice and a copy of the Complaint for Forfeiture Jn Rem were served
on all known potential claimants who may have had an interest in the subject property, including
claimant E2M Properties, LLC;

AND WHEREAS, on December 21, 2020, claimant Casey Kirschner filed a claim asserting
ownership of one asset among the subject property, specifically, $10,567.43 seized from U.S. Bank

account #10478 1237441 in the name of Devon M. Kirschner and Casey H. Kirschner (“Defendant

Property”);
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AND WHEREAS, on February 14, 2022 an agreement as to the Defendant Property was
reached between the United States and claimant Casey Kirschner, which agreement is embodied
in the Stipulation for Settlement and Joint Motion for Entry of Consent Order of Forfeiture filed
contemporaneously with the Stipulated Consent Judgment and Order of Forfeiture;

AND WHEREAS, both the United States and claimant Casey Kirschner are aware of their
respective rights and wish to resolve this matter without further litigation or expense;

NOW THEREFORE, the United States and claimant Casey Kirschner stipulate and agree
as follows:

1. Claimant Casey Kirschner (“Claimant”) agrees to the forfeiture of $1,967.43 of the
Defendant Property to the United States pursuant to 18 U.S.C. § 981(a)(1)(C). The United
States agrees to return to the Claimant the remaining $8,600 of the Defendant Property.

2. This settlement does not constitute an admission by Claimant that it engaged in any
unlawful activity.

3. The parties each agree to bear their own costs, to include attorney’s fees.

4, The Claimant warrants that it has the legal authority to comply with the terms of this
settlement and agrees to execute any and all documents necessary and to take all steps
necessary to effectuate the intent of this settlement.

5. The Claimant hereby releases, forever discharges, and holds harmless the United States of
America and their agencies, officers, attorneys, agents, servants, employees, successors
and assigns from any and all claims, demands, damages, causes of action or suits, of
whatever kind and description, and wheresoever situated, which it and its assigns, or any
third party ever had, now have, or may have in the future in connection with the

investigation into, encumbering of, seizure of, and forfeiture of the subject property.
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Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(2), the action is
DISMISSED WITH PREJUDICE as to $10,567.43 seized from U.S. Bank account
#104781237441 in the name of Devon M. Kirschner and Casey H. Kirschner.

The Clerk is directed to forward copies of this Order to counsel of record and to close this
civil action.

It is SO ORDERED.

Alexandria, Virginia
March T , 2022

. /s/
Rossie D. Alston, Jr.!
United States District Judge
